 

AQ 245B (Rev. 06/05) NadREe id OfimGstOWBI8-RSL Document 24 Filed 05/08/07 Page 1 of 6
Sheet 1

UNITED STATES DISTRICT COURT

Western District of Washington

     

 

UNITED STATES OF AMERICA JUDGMENT IN A CRIMINAL CASE
Vv.
(TRUE NAME: JENIFER HINKLE) USM Number:

Timothy 8. McGarry
Defendant’s Atlomey

THE DEFENDANT:

& pleaded guilty to count(s) 1

 

1 pleaded nolo contendere to count(s)
which was accepted by the court.

 

‘2 was found guilty on count(s)
after a plea of not guilty.

 

The defendant is adjudicated guilty of these offenses:

, Title & Section Nature of Offense Offense Ended Count
(ATUS.C. 9384 1(a)(1) and Distribution of Controlled Substances 12/31/2006
(bY 1)(C)

The defendant is sentenced as provided in pages 2 through 6 of this judgment. The sentence is imposed pursuant to

: the Sentencing Reform Act of 1984,
| Oo The defendant has been found not guilty on count(s)

 

O Count(s) f] is O) are dismissed on the mation of the United States.

 

Ii is ordered that the defendant must notify the United States attorney for this district within 30 days of any change of name, residence,
_or mailing address until all fines, restitution, costs, and special assessments im
e

. t posed by this judgment are fully paid. If ordered to pay restitution,
_ the defendant must notify the court and United States Attorney of material chapges in economic circumstances.

     

 

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Assistant United States Attorney

May 8, 2007
Date of Imposition of Judgment

MUS Comck

Signature of Judge

 

The Honorable Robert §, Lasnik

{ANE NA ROY OD YO Chief United States Disvict Judge
{AMMTON ON0 VO YEN) PO [a k, 2007

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06-CR-00398-FINAFF e
 

 

 

 

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Sheet 2 — Imprisonment

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DEFENDANT: JENNIFER HINKLE
CASE NUMBER: 06CR-00398RSL

IMPRISONMENT

The defendant is hereby committed to the custody of the United States Bureau of Prisons to be imprisoned for a
total term oft 4 ays mei

Ol The court makes the following recommendations to the Bureau of Prisons:

The defendant is remanded to the custody of the United States Marshal.

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Sem on 5(4|0F.

a The defendant shall surrender to the United States Marshal for this district: befura

at Ham O pm. on

QO as notified by the United States Marshal.

 

A The defendant shall surrender for service of sentence at the institution designated by the Bureau of Prisons:
Q before 2 p.m. on
QO as notified by the United States Marshal.
& as notified by the Probation or Pretrial Services Office.

 

 

 

 

RETURN
I have executed this judgment as follows:
Defendant delivered on to
vat » with a certified copy of this judgment.
Eric E. Robertson
UNITED STATES MARSHAL
By

 

DEPUTY UNITED STATES MARSHAL

 
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Sheet 3 — Supervised Release
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DEFENDANT: JENNIFER HINKLE

CASE NUMBER: Q6CR-00398RSL
SUPERVISED RELEASE

| Upon release from imprisonment, the defendant shall be on supervised release for a term of : 3 years

; The defendant must report to the probation office in the district to which the defendant is released within 72 hours of release from
the custody of the Bureau of Prisons,

| The defendant shall not commit another federal, state or local crime.

The defendant shall not unlawfully possess a controlled substance. The defendant shall refrain from any unlawful use of a
_ controlled substance. The defendant shall submit to one drug and/or alcohol test within 15 days of release from imprisonment
_ and at least two periodic drug tests thereafter, not to excecd eight valid tests per month, pursuant to 18 U.S.C. § 3563(a)(5)
and 18 U.S.C. § 3583(d),

oO The above drug testing condition is suspended, based on the court’s determination that the defendant poses a low risk of
= future substance abuse. (Check, if applicable.)

The defendant shall not possess a firearm, ammunition, destructive device, or any other dangerous weapon, (Check, if

sa

applicable.)
& The defendant shall cooperate in the collection of DNA as directed by the probation officer. (Check, if applicable.)
qq The defendant shall register with the state sex offender registration agency in the state where the defendant resides,
‘= works, of is a student, as directed by the probation officer. (Check, if applicable.)
The defendant shall participate in an approved program for domestic violence. (Check, if applicable.)
; If this judgment imposes a finc or restitution, it is a condition of supervised release that the defendant pay in accordance
_ with the Sche ule of Payments shect of this judgment.

The defendant must comply with the standard conditions that have been adopted by this court as well as with any additional
conditions on the attached page.

STANDARD CONDITIONS OF SUPERVISION

1) the defendant shall not leave the judicial district without the permission of the court or probation officer;

2) the defendant shall report to the probation officer and shall submit a truthful and complete written report within the first
five days of each month;

3) the defendant shall answer truthfully all inquiries by the probation officer and follow the instructions of the probation
officer;
4) the defendant shall support his or her dependents and meet other family responsibilities;

5) the defendant shalt work regularly at a lawful occupation, unless excused by the probation officer for schooling, training,
or other acceptable reasons;

' 6) the defendant shall notify the probation officer at least ten days prior to any change in residence or employment;

— 7) the defendant shall retrain from excessive use of alcohol and shall not purchase, possess, use, distribute, or administer
any controlled substance or any paraphernalia related 10 any controlled substances, except as prescribed by a
physician;

8) the defendant shall not frequent places where controlled substances are illegally sold, used, distributed, or
administered;

9) the defendant shall not associate with any persons engaged in criminal activity and shall not associate with any person
convicted of a felony, unless granted permission to do so by the probation officer,

10) the defendant shall permit a probation officer to visit him or her at any time at home or elsewhere and shall permit
confiscation of any contraband observed in plain view of the probation officer;

11) the defendant shall notify the probation officer within seventy-two hours of being arrested or questioned by a law
enforcement officer;

12} the defendant shal! not enter into any agreement to act as an informer or a special agent of a law enforcement agency
without the permission of the court; an

13) as directed by the probation officer, the defendant shall notify third parties of risks that may be occasioned by the
defendant’s criminal record or personal history or characteristics and shail permit the probation officer to make such
notifications and to confirm the defendant’s compliance with such notification requirement.
 

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: Sheet 3C — Supervised Release _ _ _

 

       

 

 

 

 

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DEFENDANT: JENNIFER HINKLE
CASE NUMBER: 06CR-00398RSL

SPECIAL CONDITIONS OF SUPERVISION

The defendant shalt participate as instructed by the U.S. Probation Officer in a program approved by the probation office for
ireatment of narcotic addiction, drug dependency, or substance abuse, which may include testing to determine if defendant has

reverted to the use of drugs or alcohol. ‘The defendant shall also abstain from the use of alcohol and/or other intoxicants during the
term of supervision. Defendant must contribute towards the cost of any programs, to the extent defendant is financially able to do
so, as determined by the U.S. Probation Officer.

The defendant shal] submit to a search of his or her person, residence, office, property, storage unit or vehicle conducted in a
Teasonable manner and at a reasonable time by a probation officer.

The defendant shall provide his or her probation officer with access to any requested financial information including
‘authorization to conduct credit checks and obtain copies of the defendant's Federal Income Tax Returns.

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Sheet § — Criminal Monetary Penalties

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DEFENDANT: JENNIFER HINKLE
CASE NUMBER: 06CR-00398RSL

CRIMINAL MONETARY PENALTIES

_ Assessment Fine Restitution
TOTALS §$ 100.00 $ Waived $ N/A
UO The determination of restitution is deferred until . An Amended Judgment in a Criminal Case (AG 245C) will be

—=_—_

entered after such determination.

0 ~~ The defendant must make restitution (including community restitution) to the following payees in the amount listed below.

Ifthe defendant makes a partial payment, each payee shall receive an approximately pes ortioned payment, unless specified otherwise in
the priority order or percentage payment column below. However, pursuant to 18U.S.C. § 3664(j), all nonfederal victims must be paid
before the United States is paid.

Name of Pavee Total Loss* Restitution Ordered Priority or Percentage
See Atiached

"Additional Restitution Payees"

' TOTALS $ 0 4 a

 

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Restitution amount ordered pursuant to plea agreement $

 

G The defendant must pay interest on restitution and a fine of more than $2,500, unless the restitution or fine is paid in full before the
fifteenth day after the date of the judgment, pursuant to 18 U.S.C. § 3612(f. All of the payment options on Sheet 6 may be subject
to penalties for delinquency and default, pursuant to 18 U.S.C. § 3612(g).

| Os The court determined that the defendant does not have the ability to pay interest and it is ordeved that:

c the interest requirement is waived forthe O fine OS srestitution,
a

the interest requirement for the Oo fing OC restitution is modified as follows:

The court finds that the defendant is financially unable and is unlikely to become able to pay a fine and, accordingly, the imposition of
Ba fine is waived

+ Findings for the total amount of tosses are required under Chapters 109A, 110, 110A, and 113A of Title 18 for offenses committed on or after
‘September 13, 1994, but before April 23, 1996,

 
 

 

 

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Shect 6 Schedule of Payments _ :

   

 

 

 

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DEFENDANT: JENNIFER HINKLE

CASE NUMBER: O6CR-00398R5L

: SCHEDULE OF PAYMENTS

Having assessed the defendant's ability to pay, payment of the total criminal monetary penalties are due as follows:

Ry PAYMENT IS DUE IMMEDIATELY. Any unpaid amount shall be paid to Clerk's Office, United States District Court,
— 700 Stewart Street, Seaitle, WA 98101,

pg During the period of imprisonment, no less than 25% of their inmate Bross monthly income or $25.00 per quarter,
— whichever is greater, to be collected and disbursed in accordance with the Inmate Financial Responsibility Program.

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-, During the period of supervised release, in monthly installments amounting to not less than 10% of the defendant's
gross monthly household income, to commence 30 days after release from imprisonment.

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During the period of probation, in monthly installments amounting to not less than 10% of the defendant's gross
monthly household income, to commence 30 days after the date of this judgment.

The payment schedule above is the minimum amount that the defendant is expected to pay towards the monet
penalties imposed by the Court. The defendant shall pay more than the amount established whenever possible. The
defendant must notify the Court, the United States Probation Office, and the United States Attorney's Office of any
material change in the defendant's financial circumstances that might affect the ability to pay restitution.

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Unless the court has expressly ardcred otherwise, if this judgment imposes imprisonment, payment of criminal monetary penalties
| is due during imprisonment. All criminal monetary penalties, except those payments made through the Federal Bureau of Prisons’
' Inmate Financial Responsibility Program are made to the United States Disirict Court, Western District of Washington. For

restitution payments, the Clerk of the Court is to forward money received to the party(ies) designated to receive restitution
_ specified on the Criminal Monetaries (Sheet 3) page.

| The defendant shall receive credit for at! payments previously made toward any criminal monetary penalties imposed.

‘Ol Joint and Several

Defendant and Co-Defendant Names and Case Numbers (including defendant number), Total Amount, Joint and Several
and corresponding payee, if appropriate.

O ‘The defendant shall pay the cost of prosecution.
op The defendant shal) pay the following court

The defendant shall forfeit the defendant's interest in the following property to the United States:
|

Payments shall be applied in the following order: (I) assessment, (2) restitution principal, (3) restitution interest, (4) fine principal,
ties, and (8) costs, including cost of prosecution and court costs,

(5) fine interest, (6) community restitution, (7) pena

 
